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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

JUNE ROY,

                      Plaintiff,
                                                            Case Number 16-14315
v.                                                          Honorable David M. Lawson

JAMILA TAYLOR, M.D., UNITED
STATES OF AMERICA, and DETROIT
HEALTH CARE FOR THE
HOMELESS, INC.,


                  Defendants.
___________________________________/

 STIPULATED ORDER DISMISSING DEFENDANTS JAMILA TAYLOR, M.D., AND
 DETROIT HEALTH CARE FOR THE HOMELESS, INC., ONLY, AND EXTENDING
     TIME TO ANSWER OR OTHERWISE RESPOND TO THE COMPLAINT

       Pursuant to the stipulation of the parties,

       It is ORDERED that the plaintiff’s complaint is DISMISSED WITH PREJUDICE as to

defendants Jamila Taylor, M.D., and Detroit Health Care for the Homeless, Inc., ONLY.

       It is further ORDERED that if defendant United States of America desires to answer or

otherwise respond to the complaint, it must do so on or before April 24, 2017.


                                                     s/David M. Lawson
                                                     DAVID M. LAWSON
                                                     United States District Judge

Dated: March 8, 2017

Stipulated to by:

s/Kenneth D. Lee
McKeen & Associates, P.C.
645 Griswold
Suite 4200
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Attorney for the defendant United States of America

                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on March 8, 2017.

                                                          s/Susan Pinkowski
                                                          SUSAN PINKOWSKI




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